          Case 23-12825-MBK             Doc 1270   Filed 08/25/23 Entered 08/25/23 13:56:00                             Desc Main
                                                 Document       Page 1 of 1
                                           UNITED STATES BANKRUPTCY COURT
                                                   District of New Jersey

 In re:                                                           Chapter:                            ________________
                                                                                                             11
   LTL Management LLC                                             Case Number:                        ________________
                                                                                                          23-12825
                                                                  Civil Number:                       ________________
                                                                  Adversary Number:                   ________________
                                                                  Bankruptcy Judge:                   ________________
                                                                                                       Michael B. Kaplan

                                         TRANSMITTAL OF DOCUMENT(S) TO:
                                  DISTRICT COURT  CIRCUIT COURT OF APPEALS

The following items have been filed with our office, and are being transmitted:
 Notice of Appeal                   Order being Appealed                 Designation of Record on Appeal
 Statement of Issues                Transcript                           Transcript Ordered On: _________________________
 Motion for Leave to Appeal  Certification of Failure to File Designation                   Motion to Withdraw the Reference
 Other ____________________________________________________________________________________________
        #1127 Opinion


If a Notice of Appeal is being transmitted:
The Notice of Appeal was filed in our office on ________________________________.
                                                August 24, 2023                   The parties to the appeal are:

Appellant(s):    ________________________________
                 LTL Management, LLC                                      Appellee(s):       the Official Committee of Talc Claimants
                                                                                             ________________________________
Attorney:        Paul R. DeFilippo, Esq.
                 ________________________________                         Attorney:          Daniel M. Stolz, Esq.
                                                                                             ________________________________
Address:         ________________________________
                 500 Fifth Avenue                                         Address:           110 Allen Road, Suite 304
                                                                                             ________________________________
                 ________________________________
                 New York, NY 10110                                                          Basking Ridge, NJ 07920
                                                                                             ________________________________

Title of Order Appealed:        ________________________________________________________________________
                                #1211 Order (I) Dismissing Debtor's Chapter 11 Petition Pursuant to 11 U.S.C. 1112(b); (II)
                      Establishing Procedures With Respect to Requests For Compensation; and Granting Related Relief.
Date Entered On Docket:         ________________________________________________________________________
                                August 11, 2023

 An appeal has not previously been filed in this case.
 The following list contains information regarding all appeals previously filed in this case:

           District Court Case Number                  District Court Judge Assigned                    Date of Transmission of
                                                                                                        Record to District Court

                 23-cv-02918                               Judge Michael A. Shipp                              May 30, 2023




 Court Clerk: Please complete the information below and return a copy of this form to ___________________________________within 3 days.

 Your Court’s Case Number:                                                  Judge assigned:
 By:                                                                        Date:



                                                                                                                                     rev. 8/28/17
